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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE
             In re:                                    Chapter 11
             Desolation Holdings LLC, et al.,1         Case No. 23-10597 (BLS)

                      Debtors.                         (Jointly Administered)

                                                       Ref. Docket Nos. 134 and 176


                  REPLY TO OBJECTION OF THE U.S. SECURITIES AND EXCHANGE
              COMMISSION TO MOTION PURSUANT TO SECTIONS 105(A) AND 502(C) OF
             THE BANKRUPTCY CODE TO ESTIMATE CONTINGENT AND UNLIQUIDATED
                    CLAIMS OF THE SECURITIES AND EXCHANGE COMMISSION
                                AND GRANT RELATED RELIEF

                      The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

         hereby file their reply to the objection (the “Objection”) [D.I. 176] of the United States Securities

         and Exchange Commission (the “SEC”) to the Debtors’ motion to estimate the SEC’s contingent

         and unliquidated claims (the “Motion”) [D.I. 134].2

                                                 I.        INTRODUCTION
                      1.    Although the SEC asserts that long, drawn-out bankruptcy cases should be the norm

         whenever it wishes to assert claims, the Debtors disagree. Since even before commencing these

         cases, the Debtors have been working hard to satisfy the legitimate claims of creditors (including

         customers above all others) and complete their wind-down process. In late March 2023, the Debtors

         notified their customers that they intended to shut down operations, and offered them until the end

         of April 2023 to withdraw cryptocurrency assets and fiat currencies associated with their accounts.


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            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor entity’s tax
         identification number, are: Desolation Holdings LLC (0439); Bittrex, Inc. (0908); Bittrex Malta
         Holdings Ltd. (2227); and Bittrex Malta Ltd. (1764). The mailing and service address of the
         Debtors is 701 5th Avenue, Suite 4200, Seattle, WA 98104.
         2
              All terms not defined herein have the meaning ascribed to them in the Motion.




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         After filing for relief under chapter 11 of the Bankruptcy Code, the Debtors sought and obtained

         authorization to continue honoring withdrawals by customers.

                 2.      The Debtors are now in the process of finalizing their disclosure statement inclusive

         of projections of the number of allowed customer-claims and cryptocurrency assets available for

         distribution. Based on withdrawal rates and proofs of claim filed to date, the Debtors continue to

         believe that there will be sufficient cryptocurrency assets to satisfy all allowed customer claims in

         full in kind. With respect to allowed general unsecured claims, including any allowed claim of the

         SEC, the Debtors will have to monetize cryptocurrency assets and convert them to cash. The

         Debtors anticipate that any cryptocurrency assets remaining after satisfying allowed claims will be

         distributed in kind to holders of the Debtors’ equity interests in accordance with the absolute priority

         rule. The longer that process takes, the greater the risk that cryptocurrency assets available for

         distribution will lose value given their volatility. As such, what constitutes an undue delay in

         administering any given debtor’s estate depends entirely on the facts and circumstances of that case.

         Section 502(c)(1) squarely applies here and mandates the estimation of contingent or unliquidated

         claims, such as the SEC Claims, because such claims unduly delay the administration of the

         Debtors’ estates.

                 3.      The SEC does not dispute that its claims are contingent and unliquidated. Instead,

         it makes four arguments for why it should be allowed to hold this case hostage for years while its

         preferred manner of litigating runs its course. None of them is consistent with the Bankruptcy Code

         or the policies underlying it.

                 4.      First, the SEC argues that the Motion lacks merit because (1) the Court already

         authorized customer withdrawals (which is all the SEC cares about), (2) the Court should not care

         about delays to distributions to equity holders (because the SEC does not care about equity holders



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         in this case), and (3) because the SEC is unlikely to receive any distributions anyway (based on

         rank speculation). These arguments all fail (but if the SEC really believes (3), it could simply agree

         to set its claims at $0 and that would resolve the Motion).

                5.      The SEC (along with the Department of Justice or “DOJ”) negotiated and obtained

         a provision in the customer withdrawal order (D.I. 123, 128) reserving rights to claw back customer

         withdrawals to the extent that the SEC is not paid in full, meaning that customers will not actually

         have any finality unless the amount of the SEC Claims is known and satisfied. With respect to

         stakeholders other than customers, the Debtors are not willing to reserve potentially significant

         amounts of cryptocurrency assets while the SEC figures out what monetary amounts it may wish to

         seek from the Debtors. Adopting the SEC’s wait-and-see approach threatens harm to general

         unsecured creditors and equity holders, whose claims and interests are neither contingent nor

         unliquidated—and who Congress determined are entitled to distributions without undue delay.

         Finally, the SEC’s argument that it is unlikely to receive any distributions anyway is based on a

         misunderstanding of bankruptcy law; while the schedules may show that liabilities exceed assets,

         many of those liabilities are contingent and are unlikely to become allowed claims. The Debtors

         believe that there will be sufficient assets to pay all creditors in full, depending on the liquidation

         of the SEC Claim.

                6.      Second, the SEC argues that despite six years of investigating the Debtors and

         already suing Debtor BUS, its affiliate, and its founder, it should not be forced to file claims before

         180 days following the Petition Date because it may think of some other claims to bring.3 Section


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            The SEC incorrectly asserts that the Debtors are seeking to shorten the governmental bar date
         for all regulatory agencies. The Motion concerns the SEC Claims only. The SEC has uniquely
         spent years investigating potential claims against the Debtors and ultimately made it impracticable
         for the Debtors to continue operating, which precipitated this bankruptcy. The SEC also already
         asserted its claims by commencing litigation against Debtor BUS and others, so this is hardly a

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         502(c) of the Bankruptcy Code contains no prohibition on estimating claims as soon as they are

         asserted and provides the Court abundant discretion to do so, without any exception for the SEC.

         The Debtors proposed shortening the bar date for the SEC because they believe this process should

         be done once for all the SEC Claims. To the extent that the Court declines to shorten the SEC’s bar

         date, but otherwise agrees estimation would be proper, the Debtors will adjust their overall case

         schedule and ask the Court to conduct the estimation shortly after that deadline.

                7.      Third, the SEC argues that the Court should not estimate the claims because doing

         so will involve findings as to whether tokens are securities. To the contrary, the Motion did not ask

         for the Court to make any findings regarding the securities laws in order to estimate the SEC Claims.

         Instead, the Debtors proposed the “Token Toss” procedure to estimate the SEC Claims as to the Six

         Tokens identified by the SEC to date, using a 50/50 probability—which is the furthest thing from a

         “finding.” Besides, this Court is well within its core jurisdiction to “determine” (including by

         estimation) the amount of allowed claims. See 28 U.S.C. § 157(b)(2)(B) (containing exceptions

         only for personal injury tort and wrongful death claims, not the SEC). To the extent the SEC decides

         to add more claims beyond what it has asserted to date, the Debtors reserve the right to advocate

         for a different probability, if appropriate, but estimating claims would not constitute a determination

         for any other purpose.

                8.      Last, the SEC argues that if estimation is appropriate, the Court should build more

         time into the schedule to permit discovery. The Debtors agree. While the SEC does not identify

         what discovery it still needs to calculate asserted disgorgement or other penalties, it bears

         emphasizing that the SEC has been conducting one-sided discovery from Debtor BUS for the past



         question of ensuring a regulatory creditor is not caught off guard and has sufficient notice of a
         bankruptcy.


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         six years. The Debtors should be permitted to propound expedited discovery against the SEC as

         relevant to the estimation process and will similarly comply with reasonable relevant requests (to

         the extent the SEC does not already have the information). The purpose of estimation is to quickly

         liquidate contingent or unliquidated claims that would take too long to liquidate through ordinary

         litigation; it would flout the purpose of the statute to permit the claimant—who openly prefers

         delay—to use discovery as a ruse to cause even more of it.

                                                   II.        REPLY

             A. Estimation Of The SEC Claims Is Necessary To Avoid Undue Delay In
                Administration Of These Cases

                9.      These cases require estimation of the SEC Claims to avoid undue delay in

         administering these cases.    Put simply, the Debtors need to determine how much of their

         cryptocurrency assets must be converted to cash to satisfy non-customer claims against the

         Debtors. An admittedly lengthy delay4 in doing so risks an erosion of value to both non-customer

         creditors and equity holders due to the volatile nature of cryptocurrency assets. The SEC’s

         arguments to the contrary lack substance or merit.

                10.     First, the SEC’s argues that estimation is not necessary because the Court already

         authorized the Debtors to honor customer withdrawals. Objection ¶ 7. As a threshold matter, this

         argument ignores a provision that the SEC insisted on adding to the Court’s order. Both the SEC

         and the DOJ responded to the Debtors’ motion to honor customer withdrawals. D.I. 64 (SEC’s

         response), 109 (DOJ’s response). While the SEC did not object to permitting continued customer

         withdrawals, D.I. 64 at 2, it reserved the right to oppose subordination of the SEC Claims, id. To



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           The SEC did not dispute that liquidation of the SEC Claims by final adjudication in the WD
         Wash Court and Ninth Circuit will take several years. Motion ¶¶ 30-32, 45.


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         resolve the SEC’s and DOJ’s responses, the Debtors agreed to a proposed form of order, D.I. 120

         (certification of counsel), which both reserved the SEC’s right to oppose subordination of its

         claims, and included a reservation requested by the SEC for “any creditor, including the United

         States, from recovering from any customer the value of any cryptocurrency assets or fiat currency

         such customer receives that exceeds the distributions provided by the plan, if such general

         unsecured creditor or subordinated creditor is not paid in full ….” D.I. 120-1 at 3-4 (emphasis

         added); see D.I. 128 at 2-3.

                11.     In other words, the SEC reserved the right to seek to claw back any customer

         withdrawals in the event that their disgorgement and penalty claims (if any) are not paid in full.

         Having reserved rights to claw back payments based on what its contingent and unliquidated

         claims may someday be determined to be, the SEC cannot credibly argue that estimation of its

         claim is unnecessary. If the SEC Claims are not timely estimated for purposes of allowance, as

         required by the Bankruptcy Code, customers may be subject to a claw back risk. Customers should

         be assured that their withdrawals will not be subject to some long-dated unquantified risk.

                12.     Second, the SEC argues that facilitating a recovery to equity holders is “not a

         compelling reason” to estimate the SEC Claims. Objection ¶ 8. This is wrong for two reasons.

         The SEC ignores that a delay in estimating the SEC Claims will also delay distributions to other

         general unsecured creditors, depending on how much may need to be reserved for the SEC’s and

         other contingent and unliquidated claims. More fundamentally, nothing in section 502(c) (or other

         relevant provision of the Bankruptcy Code) supports the SEC’s position that equity holders do not

         have rights to a prompt distribution. The statute itself speaks to delays in administering the estate




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         (which includes the shareholders’ participation)5 and the SEC says nothing to explain how a multi-

         year litigation claim against BUS would not delay administering BUS’ estate.              As stated,

         cryptocurrency assets will need to be converted into cash to pay general unsecured creditors

         following satisfaction of customer claims in kind. Cryptocurrency is indisputably subject to

         changes in market prices, and the Debtors prudently seek to minimize the risk of long delays

         caused by parties asserting contingent or unliquidated claims. The risk of a decline in the value of

         the cryptocurrency assets applies equally to equity holders, who will receive any leftover amounts

         after payment of allowed customer and general unsecured claims.

                13.     Third, the SEC argues that estimation is unnecessary because it appears based on

         the Debtors’ schedules that there are insufficient assets to pay the SEC anyway. Objection ¶ 9.

         That argument betrays a misapprehension of bankruptcy law. The SEC points to the Debtors’

         schedules and argues that the SEC may not receive any distributions because scheduled liabilities

         exceed scheduled assets, but ignores the fact that a large number of the claims set out in the

         Debtors’ schedules are “contingent,” meaning that they will not be allowed until and unless

         allowed by this Court. In this regard, the proof of claim required to be filed must contain certain

         Know-Your-Customer (“KYC”) and address information that is required by law. See, e.g.,

         Bankruptcy Rule 3003(c)(2) (stating that creditors in chapter 11 cases whose claims are scheduled

         as contingent must file a proof of claim). The Debtors have been urging customers for months to

         provide the required information and to withdraw the cryptocurrency assets associated with their

         accounts. The Debtors anticipate that the ultimate amount of total allowed claims will likely be



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           When Congress wished to craft rules that benefit creditors (but not shareholders) of the estate, it
         did so clearly. See, e.g., 11 U.S.C. § 510(c)(1) (providing the power to subordinate claims of
         creditors only for the benefit of other creditors, not for the benefit of equity holders).


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         lower than the amounts scheduled as contingent. The Debtors will know the universe of allowed

         customer claims by August 31, 2023. D.I. 107 at 2 (general bar date). After that point, provided

         that contingent or unliquidated claims against the Debtors can be resolved expeditiously (either by

         agreement or through the judicial process), the Debtors will be in a position to promptly move

         forward with confirmation of their plan.

             B. The Court Can and Should Shorten The SEC’s Deadline to File Claims

                14.     The Court has the authority to shorten the deadline for the SEC to file a proof of

         claim. As set forth in the Motion, section 502(c) provides the Court broad authority to set

         procedures for estimating contingent or unliquidated claims, and provides no exceptions for the

         SEC. Motion ¶¶ 52-56.6 The SEC’s two arguments to the contrary fail.

                15.     The SEC’s first argument is that the Court does not have authority to shorten the

         government bar date. Objection ¶ 10. The SEC concedes that section 502(c) provides the court

         “discretion to determine the best methods for estimating claims under the circumstances,” id., but

         without providing any explanation or analysis, it contends that this discretion does not include

         shortening the 180-day time period. Id. That argument is wrong. The bankruptcy court has wide

         discretion in determining how to estimate claims, Bittner v. Borne Chem. Co., 691 F.2d 134, 135

         (3rd Cir. 1982), and that discretion specifically includes setting procedures for estimation, with a

         baseline minimum of due process. Motion ¶ 48 (citing multiple authorities). Critically, section

         502(c) contains no exemption for the SEC or other governmental entities, demonstrating

         Congressional intent to permit estimation of governmental claims when the other requirements for



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            Contrary to the SEC’s argument, Objection ¶ 12, the Debtors did not request in the Motion to
         shorten the deadline as to all government claims. The Debtors only seek to shorten the deadline
         for the SEC as part of the estimation request.


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         estimation have been satisfied. See In re T.D.M.A., Inc., 66 B.R. 992, 997 (Bankr. E.D. Pa. 1986)

         (stating that, with respect to estimation, courts should consider “the Congressional intent of

         assuring a speedy disposition of all matters relevant to bankruptcy proceedings” (emphasis

         added)).

                 16.    The SEC’s second argument fares no better. It argues that the Court should not

         shorten the bar date based on the Debtors’ “self-imposed plan confirmation schedule.” Objection

         ¶ 11. But it ignores that the Debtors are seeking to promptly wind down their affairs so that they

         can make distributions to customers, general unsecured creditors, and (if assets remain) to equity

         holders as quickly as possible. The SEC’s argument amounts to an assertion that the goal of

         prompt distributions should yield to the pace the SEC wishes to set for itself. The SEC has had

         six years to quantify its claims—it started investigating BUS in 2017 and since that time has

         demanded and received voluminous documents, taken numerous depositions, and has even filed a

         complaint against Debtor BUS, identifying the tokens that it asserts create liability for BUS and

         certain affiliates. It strains credulity to suggest that the SEC, after six years of investigation, pre-

         litigation discovery, and a full-blown lawsuit, needs the full 180 days to assert its position as a

         creditor.7

             C. The Debtors Have Not Asked The Court To Make Any Findings Under The Federal
                Securities Laws

                 17.    In the Motion, the Debtors proposed procedures to estimate the SEC Claims against

         Debtor BUS. Motion ¶ 57. The procedures did not contemplate the Court making any findings of

         whether any of the Six Tokens were securities as a matter of law (although the Debtors disagree


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            In the event that the Court declines, even under the unique circumstances of this case, to impose
         a shortened deadline on the SEC, the Debtors request that the Court schedule estimation of the
         SEC Claims to commence 30 days after the governmental bar date.


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         that the Court would not have the power to do so); instead, the Debtors asked the Court to estimate

         the potential disgorgement (net profits) associated with those tokens (which will require

         consideration of the parties’ competing positions), and then to apply a 50/50 probability to the

         estimated disgorgement amount so as not to tip the scales on the underlying securities issues in

         favor of either party. Id. The Debtors also reserved the right to seek an alternate probability-based

         assessment and estimate in the event that the SEC adds additional tokens (subject to discovery and

         a briefing schedule). Id. ¶ 13 n.5. At no time have the Debtors requested that the Court enter an

         order finding that particular tokens are or are not securities.

                18.     In the Objection, the SEC distorts the Debtors’ request, arguing that the Court

         “would potentially be required to determine issues under the federal securities laws that are being

         litigated in the District Court Action,” including whether “crypto assets, are being offered and sold

         as securities and whether the defendants in the [WD Wash Action] operated as an unregistered

         securities exchange, broker and/or clearing agency by offering these crypto assets on a crypto asset

         trading platform.” Objection ¶ 13. The Debtors never asked this Court to make any findings on

         the “crypto-as-securities” issue, and in fact proposed the exact opposite.8

                19.     The SEC next argues that in a SEC enforcement action, the District Court must first

         establish liability, and then determine disgorgement. Objection ¶ 14. But reasons like these for

         delays associated with ordinary litigation are precisely the harm to be avoided through estimation.

         In re Chemtura Corp., 448 B.R. 635, 649-50 (Bankr. S.D.N.Y. 2011) (stating that estimation


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            The SEC also suggests that other defendants in the WD Wash Action will use estimation of the
         SEC Claims against Debtor BUS to cap the SEC’s claims against them. Objection ¶ 15. That
         issue is irrelevant to whether estimation is appropriate under section 502(c)(1). Moreover, the
         SEC has not offered any explanation of how a party other than Debtor BUS could use a section
         502(c)(1) determination for any purpose other than allowance of claims against a debtor. The
         order estimating the SEC Claims can of course make that explicit.


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         “provides a means for a bankruptcy court to achieve reorganization, and/or distributions on claims,

         without awaiting the results of legal proceedings that could take a very long time to determine”);

         In re Federal-Mogul Global, Inc., 330 B.R. 133, 154 (D. Del. 2005) (stating that estimation helps

         the court “avoid the need to await the resolution of outside lawsuits to determine issues of liability

         or amount owed”). By estimating the SEC Claims pursuant to the procedures set forth in the

         Motion, the Court can liquidate the SEC Claims without making any findings under the securities

         laws.

                 20.    The SEC cites In re Dana Corp., 379 B.R. 449, 453 (S.D.N.Y. 2007), arguing that

         the WD Wash Court should decide any federal securities law issues. Objection ¶ 13. Setting aside

         the fact that the Debtors are not asking the Court to decide any federal securities law issues, it

         appears that what the SEC is really arguing is that estimation is unavailable when there is already

         a pending case. Dana Corp. does not stand for that sweeping argument. In Dana Corp., the

         Debtors’ moved to set procedures to estimate claims by the Environmental Protection Agency

         (“EPA”). 379 B.R. at 451. The court granted that motion, but the Debtors also filed objections to

         the EPA’s claims. Id. The district court withdrew the reference with respect to both the claims

         objections and the already-ordered estimation proceeding because the debtors: (i) opposed

         imposition of joint and several liability, which required application of CERCLA; (ii) asked the

         Court to “equitably allocate” the clean-up of a contaminated site, which would again require

         application of “difficult” CERCLA issues; and (iii) sought to apply defenses based on a “National

         Contingency Plan” and “acts of God” which required the Court to take into account CERCLA

         policy. Id. at 456-62.9


         9
             The SEC quotes Dana Corp. for the proposition that withdrawal of the reference is appropriate
         if the case requires the bankruptcy court to engage in the intricacies of a non-bankruptcy law, as
         opposed to a routine application of non-bankruptcy law. Objection ¶ 13. But the SEC’s selective

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                21.     Unlike Dana Corp., the Debtors have not asked the Court to determine any of the

         underlying questions involving securities law, i.e., whether any of the Six Tokens are securities.

         The Debtors here only ask the Court to delve into the amount of any disgorgement, an equitable

         remedy routinely calculated by bankruptcy courts. See, e.g., In re New River Dry Dock, Inc., 497

         F. App’x 882, 887-88 (11th Cir. 2012) (affirming bankruptcy court’s order disgorging

         commissions paid to real estate broker); In re de Jong, 588 B.R. 879, 893-94 (B.A.P. 9th Cir. 2018)

         (calculating disgorgement against a debtor for trespass on a dairy farm, including that

         disgorgement should be calculated by subtracting operating costs from gross revenues); U.S. v.

         Ginn, 2005 WL 2493342, at *1 (N.D. Tex. Oct. 7, 2005) (affirming bankruptcy court’s order

         disgorging post-confirmation fees of a liquidating plan agent). Calculating a disgorgement remedy

         does not require any unique application of securities laws, and certainly not “difficult” ones for

         this Court.10 Indeed, where district courts withdraw the reference, they only do so to the extent of

         deciding narrow, novel issues under a federal statutory scheme, leaving calculation damages to the

         bankruptcy court. See e.g., In re Nat'l Gypsum Co., 139 B.R. 397, 415 (N.D. Tex. 1992)



         quotation does not accurately state the narrow test for mandatory withdrawal of the reference,
         which requires that a “substantial and material consideration of non-Bankruptcy Code federal
         [law] is necessary for the resolution of the proceeding.” Dana Corp., 379 B.R. at 453.
         10
             The Exchange Act contains no special formula for calculating the disgorgement remedy. As
         recently found by the Supreme Court, Liu v. Sec. & Exch. Comm'n, 207 L. Ed. 2d 401, 140 S. Ct.
         1936, 1946-47 (2020), calculating disgorgement in SEC enforcement actions must follow
         generally applicable principles governing equitable relief: “At bottom, even if Congress employed
         ‘disgorgement’ as a shorthand to cross-reference the relief permitted by § 78u(d)(5), it did not
         silently rewrite the scope of what the SEC could recover in a way that would contravene limitations
         embedded in the statute. After all, such ‘statutory reference[s]’ to a remedy grounded in equity
         ‘must, absent other indication, be deemed to contain the limitations upon its availability that equity
         typically imposes.’” Id. As bankruptcy courts frequently employ equitable remedies, including
         disgorgement, no special facility with securities law is required. To be clear, the Debtors are not
         conceding that disgorgement would be appropriate. Instead, they are simply asking the Court to
         calculate the extent of possible disgorgement.


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         (withdrawing the reference, addressing substantive CERCLA issues concerning the Debtors’

         liability, and referring the matter to the Bankruptcy to estimate the amount of the claims). The

         Motion achieves the same result. It leaves the application of securities laws to the tokens in the

         WD Wash Court, and expedites the routine calculation of damages to facilitate the conclusion of

         the chapter 11 case. The Debtors will thereafter urge a 50/50 probability assessment as something

         that is well within the discretion of the Court in conducting estimation for bankruptcy claim

         allowance purposes.

             D. The SEC Has Already Had Six Years To Conduct Discovery And Should Not Be
                Afforded More Time To The Detriment Of Stakeholders In These Bankruptcy Cases

                 22.     The SEC’s final argument is that if the Court grants estimation, then it should be

         provided discovery and should not be limited to the Six Tokens that were listed in the Complaint.

         Objection ¶ 16. The SEC even suggests in its Objection that it intends to continue adding tokens

         to the WD Wash Action after discovery closes (which could be years in the future, as there is not

         even a scheduling order in place). Id. ¶ 13. These arguments ignore the interests of the

         stakeholders in these cases and if accepted, will create unacceptable risks for the Debtors’ estates.

                 23.     The SEC investigated BUS for six years, received voluminous documents and took

         numerous depositions.      Six years of discovery provides the SEC with more than enough

         information to calculate any potential claims for disgorgement. Indeed, following its six-year

         investigation, the SEC filed the Complaint in WD Wash specifically identifying the Six Tokens it

         contends are securities. Tellingly, although the SEC now says it needs more discovery, the SEC

         fails to identify a single category of documents it needs, nor does it identify a single person it still

         needs to depose. The SEC should not be permitted to set out legal theories and claims ad infinitum

         in dribs and drabs and delay the Debtors’ plan process for an unspecified time.




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                 24.     The Debtors agree that discovery may be relevant to estimation, but it is the Debtors

         who should be entitled to some. The Debtors are willing to discuss with the SEC a reasonable

         discovery schedule to help estimate its disgorgement claims, but the SEC’s proposed approach of

         thinking of ways to create even more delay by feigning a need for discovery is untenable given the

         volatility of the assets and the fact that other stakeholders bear that risk.11




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             As noted above, if the Court declines to shorten the governmental bar date for the SEC, the
         Debtors request that the Court hold the SEC to the current government bar date and order a prompt
         estimation of the SEC Claims to commence 30 days thereafter. The Debtors will then set forth a
         probabilities-based assessment because the SEC does not appear to believe that the “Token Toss”
         method is appropriate.


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                                                III.    CONCLUSION

                   25.    For the reason stated in the Motion and above, the Debtors request that the Court

         overrule the Objection, grant the Motion, and set an estimation schedule consistent with the

         Court’s decisions regarding (i) whether or not to require the SEC to file its claims sooner than 180

         days after the Petition Date and (ii) the scope and breadth of discovery.

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                                                       CO-COUNSEL FOR THE DEBTORS

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